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 2
     PRECILIANO MARTINEZ
     ATTORNEY AT LAW
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     (209)579-2206/ (209)579-2211 Fax
 5

 6   Attorney for Defendant
     JAMES HORN
 7

 8
                            UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

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                                                )
11
     UNITED STATES OF AMERICA,                  )   CASE NO. 06-cr-00418-LJO
                                                )
12
                   Plaintiff,                   )   STIPULATION AND ORDER RESETTING
                                                )   SURRENDER DATE
13
           vs.                                  )
                                                )   DATE: JULY 8, 2008
14   JAMES HORN,                                )   TIME: 2:00 P.M.
                                                )   JUDGE: LAWRENCE J. O’NEILL
15
                   Defendant                    )
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           IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18
     Katherine Servatius, Counsel for Plaintiff, United States Probation Officer, Katerina M.
19
     Holland, Pre-trial Services Officer, Lydia Serrano, and Attorney Preciliano Martinez,
20
     Counsel for Defendant, James Horn, that the Surrender date of July 8, 2008, be
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     vacated and the Surrender date be continued to July 29, 2008 at 2:00 p.m. This
22
     continuance is requested due to the fact that the U.S. Marshall’s office has notified Ms.
23
     Lydia Serrano that they have not yet found a facility for Mr. James Horn.
24          The court is advised that counsel have conferred about this request, that they
     have agreed to the July 29, 2008 date and that all parties have authorized Preciliano
25
     Martinez to sign this stipulation on their behalf.
26   ///
     ///
27   IT IS SO STIPULATED
     DATED: July 3, 2008                                    /s/ Preciliano Martinez
28
                                                            PRECILIANO MARTINEZ
                                                            Attorney for Defendant
                                                            James Horn

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 3   Dated: July 3, 2008                              /s/Katherine Servatius
                                                      KATHERINE SERVATIUS
 4                                                    Assistant United States Attorney
 5
                                                      Attorney for Plaintiff

 6   Dated: July 3, 2008                        /s/Katerina M. Holland     .
                                                       KATERINA M. HOLLAND
 7                                                     United States Probation Officer
 8
     Dated: July 3, 2008                        /s/Lydia Serrano             .
 9                                                     LYDIA SERRANO
                                                       Pre-Trial Services Officer
10

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14                                        ORDER

15   Good cause exists for the request.
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     IT IS SO ORDERED.
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     Dated:    July 7, 2008                    /s/ Lawrence J. O'Neill
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     b9ed48                               UNITED STATES DISTRICT JUDGE
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